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                          United States District Court
                                 EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION


 RETRACTABLE TECHNOLOGIES, INC.,                  §
 and THOMAS J SHAW                                §
                                                  §   Civil Action No. 2:08-CV-00016
                                                  §   Judge Mazzant
 v.                                               §
                                                  §
 BECTON DICKINSON AND COMPANY                     §

                         MEMORANDUM OPINION AND ORDER

       Pending before the Court is Plaintiffs’ Motion to Alter or Amend the Judgment (Dkt. #751).

After reviewing the relevant pleadings, the Court denies Plaintiffs’ motion.

                                        BACKGROUND

       On August 17, 2017, the Court rendered final judgment and dismissed this case

(Dkt. #750). Twenty-eight days later, on September 14, 2017, Plaintiffs filed the present motion

to alter the judgment (Dkt. #751). On September 29, 2017, Defendant filed a response (Dkt. #754).

On October 3, 2017, Plaintiffs filed a reply (Dkt. #755).

                                     LEGAL STANDARD

       A Rule 59(e) motion “calls into question the correctness of a judgment.” Templet v.

HydroChem Inc., 367 F.3d 473, 478 (5th Cir. 2004) (quoting In Re Transtexas Gas. Corp.,

303 F.3d 571, 581 (5th Cir. 2002)).      “Reconsideration of a judgment after its entry is an

extraordinary remedy that should be used sparingly.” Id. at 479 (citing Clancy v. Emp’rs Health

Ins. Co., 101 F. Supp. 2d 463, 465 (E.D. La. 2000)). In the Fifth Circuit, Rule 59(e) standards

“favor the denial of motions to alter or amend a judgment.” S. Constructors Grp., Inc. v.

Dynalectric Co., 2 F.3d 606, 611 (5th Cir. 1993) (citations omitted). Under Rule 59(e), amending

a judgment is appropriate (1) where there has been an intervening change in the controlling law;
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    (2) where the movant presents newly discovered evidence that was previously unavailable; or (3)

    where there has been a manifest error of law or fact.          Demahy v. Schwarz Pharma, Inc.,

    702 F.3d 177, 182 (5th Cir. 2012) (citing Schiller v. Physicians Res. Grp. Inc., 342 F.3d 563, 567

    (5th Cir. 2003)). A motion under Rule 59 cannot be used to raise arguments or claims “that could,

    and should, have been made before the judgment issued.” Id. (citing Marseilles Homeowners

    Condo. Ass’n v. Fid. Nat. Ins. Co., 542 F.3d 1053, 1058 (5th Cir. 2008)).

                                                ANALYSIS

           Plaintiffs have not shown manifest errors of law or newly discovered evidence. Templet,

    367 F.3d at 478-49. They have not shown (1) an intervening change in controlling law; (2) the

    availability of new evidence not previously available; or (3) the need to correct a clear error of law

    or prevent manifest injustice. In re Benjamin Moore & Co., 318 F.3d 626, 629 (5th Cir. 2002).

    Plaintiffs have simply failed to show they are entitled to the extraordinary relief provided for in

    Rule 59(e). Templet, 367 F.3d at 478.

           Instead, Plaintiffs merely rehash arguments that could have been offered or raised before

    the judgment was issued. Ross v. Marshall, 426 F.3d 745, 763 (5th Cir. 2005). As such, the Court

.   finds that its original decision should stand.

                                              CONCLUSION

           It is therefore ORDERED that Plaintiffs’ Motion to Alter or Amend the Judgment

    (Dkt. #751) is DENIED.

           SIGNED this 27th day of October, 2017.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE
